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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                DELTA DIVISION

 FREDERICK PINKSTON                                                          PLAINTIFF
 Reg. #19117-075

 v.                            Case No. 2:20-cv-00019-LPR



 DEWAYNE HENDRIX
 Warden, Federal Correctional Complex (Low)                                DEFENDANT


                                      JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that Plaintiff Frederick Pinkston’s Petition for a Writ of Habeas Corpus (Doc.

1) is DISMISSED.

      IT IS SO ADJUDGED this 2nd day of October 2020.



                                                ________________________________
                                                LEE P. RUDOFSKY
                                                UNITED STATES DISTRICT JUDGE
